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                            UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,                          Case No. 1:13-cr-00065-BLW

                        Plaintiff,                  MEMORANDUM DECISION AND
     v.
                                                    ORDER
 ELAINE MARTIN and DARRELL
 SWIGERT,

                        Defendants.


          The Court has before it the United States’ First Motion in Limine (Dkt. 31), the

United States’ Second Motion in Limine (Dkt. 35), Defendant Martin’s Motion in Limine

for Order Excluding Evidence of the Amounts of Payments Made to Marcon, Inc., for

Performance of SBA 8(a) and DBE Contracts (Dkt. 48), and Defendant Swigert’s Joinder

in Defendant Martin’s Motion in Limine for Order Excluding Evidence of the Amounts

of Payments Made to Marcon, Inc., for Performance of SBA 8(a) and DBE Contracts

(Dkt. 53).

                                         ANALYSIS

1.        Government’s First Motion in Limine

          The Government’s First Motion in Limine asks the Court to preclude the

defendants from introducing or making reference to matters related to the following: (1)

Denice Graham; (2) Congressional Hearings and Office of Inspector General (“OIG”)

audits; (3) administrative and civil remedies; and (4) sentencing and forfeiture.


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       A.     Denice Graham

       The Government intends to call Graham as a witness in its case-in-chief. Her

testimony will relate to the allegations that defendants defrauded the Utah Department of

Transportation (“UDOT”). Graham works for UDOT. Apparently, UDOT terminated

Graham in 2010 for alleged misconduct related to the disclosure of bid information. She

was reinstated in 2012 after the Utah Career Service Review Board found that evidence

did not support her termination. The Government asks for an order precluding defendants

from asking Graham about her termination, the circumstances surrounding it, or the

subsequent grievance case.

       Federal Rules of Evidence 401, 402, and 403 are at play here. Rule 401 states that

evidence is relevant if it has any tendency to make a fact more or less probably, and the

fact is of consequence in determining the action. Rule 402 states that relevant evidence is

admissible unless the Constitution, federal statues or rules provide otherwise. Rule 403

requires the Court to balance relevance against prejudice – relevant evidence may be

excluded if its probative value is substantially outweighed by a danger of unfair

prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or

needlessly presenting cumulative evidence.

       As is often the case with motions in limine asking the Court to weigh the

relevance and prejudice of certain testimony, the Court cannot give a definitive ruling in

limine here – the Court will need to address the issue in the context of Graham’s

testimony at trial. However, the Court will give the parties some guidance.



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       The probative value of Graham’s termination is not readily apparent to the Court.

Therefore, it is unlikely the Court will allow questions regarding it. However, the

defendants are right that just because UDOT cleared her of any wrongdoing and

reinstated her employment does not mean there are no circumstances under which it may

be probative. For example, the circumstances of Graham’s termination may impeach her

testimony in some fashion. And impeachment, such as showing some type of bias, “is

almost always relevant because the jury, as finder of fact and weigher of credibility, has

historically been entitled to assess all evidence which might bear on the accuracy and

truth of a witness' testimony.” 1 McCormick on Evid . § 39 (7th ed.)(quoting U.S. v.

Abel, 469 U.S. 45, 52 (1984))

       Because the Court does not know exactly what Graham will testify about, it cannot

issue an order prohibiting or allowing questions about Graham’s termination until after

her direct examination. Accordingly, the parties may approach the Court at a side bar or

outside the presence of the jury to discuss the issue in more detail at the conclusion of

Graham’s direct testimony if necessary, or the Government may raise its objections

during cross-examination.

       B.     OIG Audits

       The Government intends to call witnesses from SBA and the U.S. Dept. of

Transportation to provide an overview of the SBA 8(a) Program and the U.S. Dept. of

Transportation’s Disadvantage Business Enterprise Program. Audits and congressional

hearings have been conducted with respect to these programs. The Government asks the

Court to preclude defendants from cross-examining these witnesses using materials from

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the congressional hearings or OIG materials for the SBA and U.S. Dept. of

Transportation. The Government asks that “to the extent defendants intend to introduce

such evidence . . . defendants [should] be required to establish the admissibility of such

evidence before such testimony is introduced in the presence of the jury.” Opening Brief,

p. 5, Dkt. 31.

       Rules 401, 402, and 403 are again at play here, and the Court is again unable to

make a blanket ruling on the issue in limine. The Court cannot determine in a vacuum

whether the audits or hearings are relevant. The defendants suggest that the

Government’s handling of applications may generate a good faith belief for an applicant

as to what information is required for an eligibility determination. This may be so.

However, that would require evidence that the applicant knew of the Government’s

method of handling applications, at a time and in a manner that could affect her decisions

in submitting her own application. This would seem to be a necessary predicate to any

inquiry concerning the audits and hearings. For this reason, the Court cannot resolve the

issue at this point. Accordingly, the Court will again reserve ruling until the issue arises

at trial. The parties should again approach the Court at a side bar or outside the presence

of the jury to discuss the issue in more detail at the appropriate time during the trial.

       C.        Administrative and Civil Remedies

       The defendants appear to agree that evidence about administrative and civil

remedies available to the Government for the charges in the Superseding Indictment is

irrelevant. The Court agrees and will grant the motion on this issue.



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       The defendants do make a suggestion that it is “unclear . . . just how far the

government thinks the prohibition ought to go.” Response Brief, p. 4, Dkt. 40. The Court

is not altogether clear what is meant by the statement, but will allow defendants to raise

the issue at trial if they feel it is necessary.

       D.      Sentencing and Forfeiture

       The defendants also seem to agree that they cannot introduce evidence of

sentencing and forfeiture. The Court agrees as well. In criminal trials such as this one, the

Court typically instructs the jury that punishment provided by law for the crimes charged

are for the Court to decide and that the jury should not consider punishment in deciding

whether the Government has proved its case. Ninth Circuit Model Criminal Jury Inst. 7.4.

In turn, evidence of punishment and forfeiture typically is not allowed. Accordingly, the

Court will grant the motion on this issue.

       The defendants do suggest a sort of caveat by arguing that the amount at issue is

also irrelevant. This issue is raised in detail in Defendant Martin’s Motion in Limine, and

the Court will address it below.

2.     Government’s Second Motion in Limine

       The Government asks the Court to preclude the defendants from presenting at trial

evidence regarding (1) the Ninth Circuit’s decision in Western States Paving Co., Inc. v.

Washington State Department of Transportation, 407 F.3d 983 (9th Cir. 2005), (2) the

constitutionality and validity of Idaho’s DBE program, and (3) the absence of project-

specific goals after the U.S. Dept. of Transportation issued guidance on the Western

States decision.

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       The Court generally agrees with the Government’s request. First, to state the

obvious, the Court will instruct the jury on the law, which may include legal statements

from the Western States case. Moreover, the jury will not be asked to determine the

constitutionality or validity of Idaho’s DBE program, and neither party will be allowed to

argue that question before the jury. Additionally, the Court can see no circumstance

where Martin could argue to the jury that Idaho’s DBE program is or was

unconstitutional or invalid, given her participation in the program. And as suggested by

the Government, the Western States decision did not alter the application of the goals in

the charged contracts, and therefore the decision has no bearing on whether Martin

intended to defraud Idaho’s DBE program. In this regard, the motion is granted.

       However, the Court anticipates, as does Defendant Martin based upon her brief,

that the Government will offer expert testimony about how the DBE program works

generally, and more specifically in Idaho. This testimony will likely include testimony

about mandatory Idaho DBE goals. The extent of cross-examination will depend upon the

direct testimony. The Court cannot make a blanket ruling that the defendants may not

present any evidence related to the Western States decision in this regard. Such a request

is simply too broad for the Court to grant pretrial. The Government may reassert its

motion in more specific terms at the appropriate time during trial.

3.     Martin’s Motion in Limine

       Defendant Martin asks the Court for an order excluding the admission of evidence

about the amounts of payments made by any person or entity to Marcon, Inc. for, or in

connection with, Marcon’s performance of construction work and related activities

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conducted pursuant to contracts performed under the SBA 8(a) programs. Martin relies

on Federal Rules of Evidence, 401, 402 and 403, suggesting that the amount of contract

payments is irrelevant. Martin further suggests it would be unfair to preclude the

defendants from offering evidence of forfeiture while at the same time allowing the

Government to essentially build its forfeiture case by “planting large numbers of gross

receipts before the jury which are totally irrelevant to the criminal liability stage.”

Opening Brief, p. 3, Dkt. 48. The Court disagrees.

       First of all, the amount of the payments is relevant. As the Government points out,

they intend to offer evidence of figures which are the amounts specifically charged in the

indictment, and which are the exact figures they accuse Martin of obtaining by fraud.

Moreover, the figures show intent – it is hard to imagine how the Government could

prove intent or motive without offering evidence of what Martin intended to receive for

her alleged fraudulent actions. Finally, the Government does not object to defendants

pointing out that these are only gross rather than net amounts gained or lost, and therefore

it should not prejudice defendants on the forfeiture counts. Accordingly, the Court will

deny the motion. As with the other motions, however, the Court will allow Martin to

reassert her objection to the issue during trial, at which time the Court may have a better

feel for the relevancy of the particular evidence.


                                           ORDER

       IT IS HEREY ORDERED:




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        1. The United States’ First Motion in Limine (Dkt. 31) is GRANTED in part and

           DENIED in part as explained above.

        2. The United States Second Motion in Limine (Dkt. 35) is GRANTED in part and

           DENIED in part with leave to reassert it during trial as explained above.

        3. Defendant Martin’s Motion in Limine for Order Excluding Evidence of the

           Amounts of Payments Made to Marcon, Inc., for Performance of SBA 8(a) and

           DBE Contracts (Dkt. 48), and Defendant Swigert’s Joinder in Defendant Martin’s

           Motion in Limine for Order Excluding Evidence of the Amounts of Payments

           Made to Marcon, Inc., for Performance of SBA 8(a) and DBE Contracts (Dkt. 53)

           are DENIED.



                                                DATED: August 8, 2013


                                                _________________________
                                                B. Lynn Winmill
                                                Chief Judge
                                                United States District Court




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